     Case 2:13-cr-00352-GMN-PAL            Document 17           Filed 10/15/13   Page 1 of 5



 1     ANGELA H. DOWS, ESQ.
       Nevada Bar No. 10339
 2     adows@readelawfirm.com
       READE & ASSOCIATES
 3     1333 North Buffalo Drive, Suite 210
       Las Vegas, Nevada 89128
 4     Telephone: (702) 794-4411
       Facsimile: (702) 794-4421
 5     Attorney for Defendant John Ortega

 6
                                    UNITED STATES DISTRICT COURT
 7
                                           DISTRICT OF NEVADA
 8
                                                       ***
 9

10     UNITED STATES OF AMERICA,                             )
                                                             )    2:13-cr-00352-GMN-(PAL)
11                                  Plaintiff,               )
                                                             )    AMENDED
12     v.                                                    )    STIPULATION TO CONTINUE
                                                             )    PRETRIAL MOTIONS DEADLINES,
13     JOHN ORTEGA,                                          )    CALENDAR CALL, AND TRIAL
14                                                           )    (First Request)
                                    Defendant.               )
15                                                           )

16            IT IS HEREBY STIPULATED by and between Daniel G. Bogden, United States
17
       Attorney, and Amber M. Craig, Assistant United States Attorney, Counsel for the United States
18
       of America; and Angela H. Dows, Esq., counsel for JOHN ORTEGA, that the deadline to file:
19
              a. pretrial motions, currently with a deadline of October 19, 2013, with a proposed new
20
                  deadline of December 19, 2013.
21

22            b. calendar call, currently scheduled for November 13, 2013, at 9:00 a.m.; and the trial,

23                currently scheduled for November 19, 2013, at 8:30 a.m., be vacated and continued
24                for sixty (60) days, or to a date and time to be set by this Honorable Court.
25
       This is the first request for a continuance in this case. This Stipulation is entered into based upon
26
       the following:
27
       …
28
     Case 2:13-cr-00352-GMN-PAL        Document 17       Filed 10/15/13      Page 2 of 5


            1.    Counsel requires additional time in order to review the discovery, and evaluate for
 1

 2                potential defenses prior to the pretrial motions deadline, and trial. Counsel for

 3                Defendant received an initial discovery disclosure in September of 2013 that

 4                includes approximately 586 pages of written discovery. Of this disclosure, 192
 5                pages includes multiple entries on each page of telephone log/tap information that
 6
                  will require defense counsel to organize, assess, and subsequently review with the
 7
                  client.
 8
            2.    Additionally, Defendant JOHN ORTEGA will require translation of an amount of
 9

10                the pertinent discovery into his native language of Spanish. Thus, the continuance

11                will allow for the translation to take place, and anticipated consultation with the

12                client after said translation.
13
            3.    The parties also request additional time to negotiate a potential disposition.
14
            4.    Counsel for Defendant has conferred with her client, who does not object to the
15
                  requested continuance.
16
            5.    The additional time requested by this stipulation is excludable in computing the
17

18                time within which the trial herein must commence pursuant to the Speedy Trial

19                Act, specifically 18 U.S.C. §3161(h)(7)(A) and (B)(i), and (iv).
20          6.    Denial of this request for continuance would result in a miscarriage of justice, as
21
                  additional time is needed by which to review discovery, potentially negotiate a
22
                  disposition, and effectively and thoroughly research and prepare for trial within
23
                  the time limits established by 18 U.S.C. §3161, taking into account the exercise of
24

25                due diligence.

26     …

27     …
28

                                                    2
     Case 2:13-cr-00352-GMN-PAL           Document 17         Filed 10/15/13     Page 3 of 5


              7.     For all the above-stated reasons, the ends of justice would best be served by a
 1

 2                   brief continuance of the pretrial motions deadlines, calendar call, and trial date.

 3            DATED this 11th day of October, 2013.

 4
       DANIEL G. BOGDEN                                    READE & ASSOCIATES
 5     United States Attorney                              By: /s/ Angela H. Dows
 6     By: /s/ Amber M. Craig                              ANGELA H. DOWS, ESQ.
       AMBER M. CRAIG                                      Appointed Counsel for John Ortega
 7     Assistant United States Attorney
       Counsel for Plaintiff
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                       3
     Case 2:13-cr-00352-GMN-PAL             Document 17            Filed 10/15/13   Page 4 of 5



 1

 2

 3

 4

 5

 6

 7                                   UNITED STATES DISTRICT COURT

 8                                           DISTRICT OF NEVADA
 9                                                          ***
10
       UNITED STATES OF AMERICA,                                  )
11                                                                ) 2:13-cr-00352-GMN-(PAL)
                                     Plaintiff,                   )
12                                                                )
       v.                                                         )
13
                                                                  ) FINDINGS OF FACT, CONCLUSIONS
14     JOHN ORTEGA,                                               ) OF LAW, AND ORDER THEREON
                                                                  )
15                                   Defendant.                   )
                                                                  )
16
                                              FINDINGS OF FACT
17

18             Based on the pending Stipulation of the parties, and good cause appearing therefore, the

19     Court finds that:
20             1.      Defendants’ counsel require additional time in order to review discovery
21
       disclosed to date, translate into Defendant’s native language, and evaluate for potential defenses
22
       prior to the pretrial motions deadline, and trial.
23
               2.      The parties also request additional time to negotiate the disposition of this case.
24

25             3.      Defendant JOHN ORTEGA does not object to the continuance.

26                                         CONCLUSIONS OF LAW

27             1.      The additional time requested by this stipulation is excludable in computing the
28

                                                             4
     Case 2:13-cr-00352-GMN-PAL            Document 17       Filed 10/15/13    Page 5 of 5


       time within which the trial herein must commence pursuant to the Speedy Trial Act, specifically
 1

 2     18 U.S.C. §3161(h)(7)(A) and (B)(i), and (iv).

 3            2.      Denial of this request for continuance would result in a miscarriage of justice, as

 4     additional time is needed by which to review discovery, specifically discovery involving
 5     telephone logs, in a case involving charges of Conspiracy to Possess a Controlled Substance with
 6
       Intent to Distribute; Possession of a Controlled Substance with Intent to Distribute; Distribution
 7
       of a Controlled Substance, and Laundering of Monetary Instruments.
 8
              3.      Denial of this request for continuance would deny the parties herein sufficient
 9

10     time and the opportunity within which to be able to negotiate a disposition and effectively and

11     thoroughly research and prepare for trial within the time limits established by 18 U.S.C. §3161,

12     taking into account the exercise of due diligence. For the above-stated reasons, the ends of
13
       justice would best be served by a continuance, and such continuance outweighs the best interests
14
       of the public and the defendants in a speedy trial.
15
                                                    ORDER
16
              IT IS THEREFORE ORDERED that the parties herein shall have to and including
17

18     December 19, 2013, by the hour of 4:00 p.m., within which to file any and all pretrial motions.

19            IT IS FURTHER ORDERED that the calendar call currently scheduled for November 13,
20                                        February 3, 2014,
       2013 be vacated and continued to ______________________________________ at the hour of
21    9:00
      _____ a.m.; and the trial currently scheduled for November 19, 2013 be vacated and continued to
22
       __________________________________________,
             February 11, 2014,                    at the hour of ___________
                                                                   8:30       a.m.
23

24            DATED this 15th day of October, 2013.
25                                           ________________________________________________
                                             UNITED STATES DISTRICT JUDGE
26                                                   _______________________________
                                             DATED: ________________________
                                                        Gloria M. Navarro
27
                                                        United States District Judge
28

                                                        5
